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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                  Plaintiff,            )                  4:08CR3177
                                        )
           V.                           )
                                        )
JOHN DOUGLAS SUTTON,                    )                     ORDER
                                        )
                  Defendant.            )

     IT IS ORDERED that the defendant’s motion for release (filing 102) is denied.

     DATED this 13th day of August, 2009.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       United States District Judge
